                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )        Case No. 1-09-CR-38
v.                                                    )
                                                      )        JUDGE COLLIER
TIMOTHY H. PARKES                                     )        MAGISTRATE JUDGE CARTER
MARK MOURIER                                          )


                                 MEMORANDUM & ORDER
                               ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, the arraignment
of the above named defendants on the indictment returned by the Grand Jury, was held before the
undersigned on March 16, 2009.

         Those present for the hearing included:

                (1) AUSA Steve Neff for the USA.
                (2) The defendant, TIMOTHY H. PARKES.
                (3) Atty. Tom Dillard for defendant Parkes
                (4) The defendant, MARK MOURIER.
                (5) Atty. Mike Richardson for defendant Mourier.
                (6) Courtroom Deputy Kelli Jones.

        After being sworn in due form of law, the defendants were informed or reminded of their
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution. The individuals present were the defendants named in the indictment.

        The defendants acknowledged having been provided with a copy of the indictment. The
defendants both waived a formal reading of the indictment and both defendants entered not guilty
pleas to each count of the indictment.

         Presently, the case is assigned the dates set forth in a separate Discovery and Scheduling
Order.


         ENTER.

         Dated: March 16, 2009                        s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




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